CASE 0:17-cr-00082-RHK Document 1 Filed 04/05/17 Page 1 of 7
CASE 0:17-cr-00082-RHK Document 1 Filed 04/05/17 Page 2 of 7
CASE 0:17-cr-00082-RHK Document 1 Filed 04/05/17 Page 3 of 7
CASE 0:17-cr-00082-RHK Document 1 Filed 04/05/17 Page 4 of 7
CASE 0:17-cr-00082-RHK Document 1 Filed 04/05/17 Page 5 of 7
CASE 0:17-cr-00082-RHK Document 1 Filed 04/05/17 Page 6 of 7
CASE 0:17-cr-00082-RHK Document 1 Filed 04/05/17 Page 7 of 7
